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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                      United States District Court
                                                Southern District of Georgia
                  MALIC STEPHENS,


                   Petitioner,
                                                                                   JUDGMENT IN A CIVIL CASE

                                                                                                     CV422-283
                                           V.                                    CASE NUMBER:
                  UNITED STATES OF AMERICA,


                   Respondent,




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                    IT IS ORDERED AND ADJUDGED
                    that, pursuant to the Order of the Court dated April 6, 2023, the Report and Recommendation of the

                    Magistrate Judge is adopted as the opinion of the Court. The Petitioner's 28 U.S.C. § 2255 petition

                    is dismissed. This action stands closed.




           April 6, 2023                                                       John E. Triplett, Clerk of Court
           Date                                                                Clerk



                                                                               (By) Deputy
                                                                                    Dep
                                                                                     e uty Clerk
GAS Rev 10/2020
